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                                                                                        FILED
                                                                                    August 21, 2024
    SEALED                                                                       CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                            UNITED STATES DISTRICT COURT                              By:     RR
                             WESTERN DISTRICT OF TEXAS                                                  Deputy
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                                  N AnTo
                                     NtOn
                                        NiIoO DIVISION
                                                                  Case No:          SA:24-CR-00412-XR


 UNITED STATES OF AMERICA
        Plaintiff

                v
                                                      INDICTMENT
 SINA CHOHILI SOBBY
 a/k/a Loko Diez                                      COUNT 1: 18 U.S.C. §933
                                                      Firearm   Trafficking

                                                      COUNT 2: 18 U.S.C. §922(o)
                                                      Possession of a Machine Gun

                                                      COUNT 3: 26 U.S.C. §5861(d)
                                                      Possession of Unregistered Machine Gun




THE GRAND JURY CHARGES:


                                          COUNT ONE
                                         [18 U.S.C. § 933]

                                                                                        defendant,

                       SINA CHOHILI SOBBY, a/k/a “Loko Diez,”

did ship, transport, transfer, cause to be transported, or otherwise dispose of at least one firearm,

to wit: a Century Arms, model RAS47, 7.62 caliber rifle, serial number RAS47044557, to another

person in or otherwise affecting commerce, knowing or having reasonable cause to believe that

the use, carrying, or possession of the firearm by the recipient would constitute a felony, to wit:

smuggling goods from the United States and possession of a machinegun, all in violation of Title

18, United States Code, Section 933(a)(1).
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       As a result of the criminal violation set forth in Count One, the United States of America
                                             COUNT TWO
gives notice to the Defendant of its inte[n1t8toUs.eSe.k
                                                       Ct. h§e 9f2
                                                                 o2rf(eoi)t]ure of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B), which state:
                                                                                    defendant,

                          SINA CHOHILI SOBBY, a/k/a “Loko Diez,”

did knowingly possess at least one machinegun, that is, an M16-type, 5.56mm NATO firearm,

serial number 1776-120402, and a Century Arms, model RAS47, 7.62 caliber rifle, serial number

RAS47044557, which were capable of firing automatically more than one shot, without manual

reloading, by a single function of the trigger, in violation of Title 18, United States Code, Sections

922(o) and 924(a)(2).



                                                         THREE
                                            [26 U.S.C. §5861(d)]


                                                                                                defendant,

                          SINA CHOHILI SOBBY, a/k/a “Loko Diez,”

knowingly possessed at least one firearm, to wit: an M16-type, 5.56mm NATO firearm, serial

number 1776-120402, and a Century Arms, model RAS47, 7.62 caliber rifle, serial number

RAS47044557, not registered to him in the National Firearms Registration and Transfer Record,

in violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.



     NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
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       As a result of the criminal violation set forth in Count One, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B), which state:

       Title 18 U.S.C. § 934. Forfeiture and Fines.
       (a) Forfeiture. -­
           (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
          to the United States, irrespective of any provision of State law--
                (A) any property constituting, or derived from, any proceeds the person obtained,
                directly or indirectly, as the result of such violation; and
                (B) any of the person's property used, or intended to be used, in any manner or part,
                to commit, or to facilitate the commission of, such violation . . .

                                             II.
                         Firearm Violation and Forfeiture Statutes
                  [Title 18 U.S.C. §§ 922(o) and 933, subject to forfeiture
       pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Counts Two, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 924. Penalties
           (d)(l) Any firearm or ammunition involved in or used in any knowing violation
           of subsection . . . (o) . . . of section 922 . . . or 933 . . . shall be subject to seizure
           and forfeiture . . . under the provisions of this chapter......

                                               III.
                 Unregistered Possession Violation and Forfeiture Statutes
  [Title 26 U.S.C. § 5861(d), subject to forfeiture pursuant to Title 26 U.S.C. § 5872, made
                applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Count Three, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 26 U.S.C. § 5872, made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which states:


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      Title 26 U.S.C. § 5872. Forfeitures
              (a) Laws applicable- Any firearm involved in any violation of the
             provisions of this chapter shall be subject to seizure and forfeiture. . .




      JAIME ESPARZA
      UNITED STATES ATTORNEY

BY:
      Zachary W. Parsons
      Assistant U.S. Attorney




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